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  5   Attorneys for Respondent,
      Deutsche Bank National Trust Company, as Trustee, in trust for the registered holders of
  6   Morgan Stanley ABS Capital I Inc. Trust 2007-HE2, Mortgage Pass-Through Certificates,
      Series 2007- HE2
  7

  8

  9                              UNITED STATES BANKRUPTCY COURT

 10              CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 11
       In re                                             Case No. 2:21-bk-15172-WB
 12
       DORIS HUNDLEY,                                    Chapter 13
 13
                       Debtor.                           CONDITIONAL NON-OPPOSITION TO
 14                                                      DEBTOR’S MOTION FOR
                                                         AUTHORITY TO SELL REAL
 15                                                      PROPERTY UNDER LBR 3015-1(P)

 16                                                      No Hearing Scheduled

 17            Deutsche Bank National Trust Company, as Trustee, in trust for the registered holders of

 18   Morgan Stanley ABS Capital I Inc. Trust 2007-HE2, Mortgage Pass-Through Certificates, Series

 19   2007- HE2       (“Deutsche Bank, as Trustee”), a secured creditor of the above-referenced

 20   bankruptcy estate, hereby submits this conditional non-opposition (“Conditional Non

 21   Opposition”) to the Motion for Authority to Sell Real Property Under LBR 3015-1(p) (“Motion

 22   to Sell”) filed by Doris Hundley (“Debtor”) based on the following:

 23   /././

 24   /././

 25   /././

 26   /././

 27   /././

 28   /././


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  1                                      I.       STATEMENT OF FACTS1

  2           1.       On October 10, 2006, Debtor and Gordon Hundley (collectively, the

  3   “Borrowers”) executed a promissory note in the principal sum of $420,000.00 (the “Note”). The

  4   Note is indorsed in blank. The Note is secured by a deed of trust (the “Deed of Trust”) executed

  5   by Borrowers and on the real property located at 19211 Coslin Ave, Carson, CA 90746 (the

  6   “Property”). The Deed of Trust reflects that it was duly recorded. Copies of the Note and Deed

  7   of Trust are attached to Deutsche Bank, as Trustee’s amended proof of claim filed on the Court’s

  8   claims register (“CCR”) as claim number 8-2. The Note and Deed of Trust are referred to

  9   collectively herein after as the Subject Loan.

 10           2.       The beneficial interest in the Deed of Trust was subsequently assigned to

 11   Deutsche Bank, as Trustee. A copy of the Assignment of Deed of Trust is attached to Deutsche

 12   Bank, as Trustee’s amended proof of claim filed on the CCR as claim number 8-2.

 13           3.       The terms of the Subject Loan were subsequently modified pursuant to a Loan

 14   Modification Agreement. A copy of the Loan Modification Agreement is attached to Deutsche

 15   Bank, as Trustee’s amended proof of claim filed on the CCR as claim number 8-2.

 16           4.       On June 24, 2021, the Debtor filed a voluntary petition under Chapter 13 of the

 17   Bankruptcy Code in the United States Bankruptcy Court for the Central District of California,

 18   Los Angeles Division, and was assigned case number 2:21-bk-15172-WB.

 19           5.       On September 2, 2021, Deutsche Bank filed a proof of claim in Debtor’s

 20   bankruptcy case regarding the Subject Loan. Subsequently, on November 12, 2021, Debtor filed

 21   an amended proof of claim reflecting a total secured claim in the amount of $450,743.51 and pre-

 22   petition arrears in the amount of $51,838.08. (See CCR, Claim No. 8-2).

 23           6.       Select Portfolio Servicing, Inc. (“SPS”) is the servicing agent for the Subject Loan

 24   on behalf of Deutsche Bank, as Trustee. (See CCR, Claim No. 8-2).

 25
      1 Pursuant to Rules 201(b) and 201(d) of the Federal Rules of Evidence, which are made applicable to this
 26   proceeding by Rule 9017 of the Federal Rules of Bankruptcy Procedure, Deutsche Bank, as Trustee requests that the
      Court take judicial notice of the documents and other records on file in the instant case including those documents
 27   attached in support of Deutsche Bank, as Trustee’s amended proof of claim filed on the Court’s claims register as
      claim number 8-2.
 28


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  1           7.     On September 18, 2023, the Debtor filed the Motion to Sell wherein she requests

  2   authorization from the Court to sell the Property. Pursuant to the Motion to Sell, Debtor proposes

  3   to sell the Property for $725,000.00 and pay off Deutsche Bank, as Trustee’s lien, which Debtor

  4   estimates to be in the amount of $420,577.62, from the proceeds of the sale. (See Docket No.

  5   60).

  6           8.     Debtor’s counsel and/or the escrow company facilitating the sale shall contact the

  7   undersigned counsel for Deutsche Bank, as Trustee closer to the date of the proposed sale for an

  8   updated payoff on Deutsche Bank, as Trustee’s claim.

  9                                             II.    RESPONSE

 10   DEUTSCHE BANK, AS TRUSTEE DOES NOT OPPOSE THE DEBTOR’S MOTION TO
      SELL ON THE CONDITION THAT THE FOLLOWING PROVISIONS ARE
 11   INCLUDED IN THE ORDER:
 12           1.     Deutsche Bank, as Trustee’s consent to the Motion to Sell is contingent upon the
 13   payment of Deutsche Bank, as Trustee’s first priority lien on the Property in full from the
 14   proceeds of the sale;
 15           2.     Deutsche Bank, as Trustee’s claim shall be paid off in full or in accordance with
 16   any approval authorized by SPS, as servicer for Deutsche Bank, as Trustee, before satisfying any
 17   other lien on the Property;
 18           3.     SPS, as servicer for Deutsche Bank, as Trustee, is authorized to submit an updated
 19   payoff demand to the appropriate escrow company facilitating the sale closer in time to the
 20   closing of the proposed sale;
 21           4.     To the extent that the Debtor disputes any amounts which Deutsche Bank, as
 22   Trustee claims are owed on the Subject Loan, the undisputed amount of Deutsche Bank, as
 23   Trustee’s claim shall be paid at the close of the sale and the disputed amount of Deutsche Bank,
 24   as Trustee’s claim shall be segregated in an interest bearing account with an additional $3,000.00
 25   in sale proceeds pending further Order of the bankruptcy court to allow for Deutsche Bank, as
 26   Trustee’s potential recovery of any of its reasonable attorney’s fees and costs incurred to the
 27   extent that Deutsche Bank, as Trustee successfully establishes its right to the disputed amount
 28


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  1   due on its claim; and

  2          5.      In the event that the sale of the Property does not take place and/or Deutsche

  3   Bank, as Trustee’s claim is not paid in full from the proceeds of the sale, Deutsche Bank, as

  4   Trustee shall retain its lien for the full amount due under the Subject Loan.

  5          Based on the foregoing, Deutsche Bank, as Trustee submits its Conditional Non-

  6   Opposition to the Debtor’s Motion to Sell, and respectfully requests that the above-referenced

  7   provisions be included in any Order granting the Debtor’s Motion to Sell.

  8

  9   Dated: September 29, 2023                     ALDRIDGE PITE, LLP

 10
                                                    /s/ Joseph C. Delmotte (SBN 259460)
 11                                                 Joseph C. Delmotte
                                                    Attorneys for Respondent/Secured Creditor
 12                                                 Deutsche Bank National Trust Company, as
                                                    Trustee, in trust for the registered holders of
 13                                                 Morgan Stanley ABS Capital I Inc. Trust 2007-
                                                    HE2, Mortgage Pass-Through Certificates, Series
 14                                                 2007- HE2
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              8880 Rio San Diego Drive, Suite 725 San Diego, CA 92108


A true and correct copy of the foregoing document entitled (specify): CONDITIONAL NON-OPPOSITION TO
DEBTOR’S MOTION FOR AUTHORITY TO SELL REAL PROPERTY UNDER LBR 3015-1(P)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 29, 2023               , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

ATTORNEY FOR DEBTOR:
Peter M Lively PeterMLively2000@yahoo.com

TRUSTEE:
Nancy K Curry trustee13la@aol.com

U.S. TRUSTEE:
U.S. Trustee ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __September 29, 2023__, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR:
Doris Hundley
228 East Barclay Street
Long Beach, CA 90805

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 29, 2023                Michael Leewright                                            /s/ Michael Leewright
 Date                                 Printed Name                                              Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
